 8:05-cr-00094-LSC-FG3            Doc # 71   Filed: 07/11/05   Page 1 of 1 - Page ID # 131




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                       )
                                                )
                     Plaintiff,                 )
                                                )
              vs.                               )                8:05CR94
                                                )
ESTRELLA ALBA-CRUZ,                             )         SCHEDULING ORDER
                                                )
                     Defendant.                 )



      UPON THE ORAL MOTION OF THE GOVERNMENT, and no objection from the
defendant,

        IT IS ORDERED that the evidentiary hearing on the Motion to Suppress Evidence [66]
is rescheduled to August 9, 2005 at 9:00 a.m. before Magistrate Judge F.A. Gossett,
Courtroom No. 6, Second Floor, Roman L. Hruska U.S. Courthouse, 111 So. 18th Plaza,
Omaha, Nebraska.

       Since this is a criminal case, the defendant must be present, unless excused by the
Court. An interpreter will be provided by the Court.

       DATED this 11th day of July, 2005.

                                             BY THE COURT:


                                             s/ F.A. Gossett
                                             United States Magistrate Judge
